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In The United States Court of Federal Claims
                                          No. 01-116C

                                    (Filed: September 3, 2010)
                                            __________

 NEBRASKA PUBLIC POWER DISTRICT,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.

                                           __________

                                            ORDER
                                           __________

        A telephonic status conference will be held in this case on Monday, September 13, 2010,
at 3:00 p.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.


                                                           s/Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
